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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,

           v.                                                        Crim. No. 21-140 (JDB)
  LARRY RENDALL BROCK,

          Defendant.


                                                ORDER

        Upon consideration of the representations made at the status conference held on April 27,

2021, and the entire record herein, and with the agreement of defendant, the government, and

Pretrial Services, it is hereby

        ORDERED that defendant shall be allowed to travel throughout the Northern District of

Texas for job-related purposes only without pre-approval from his Pretrial Services officer, but

still must notify his Pretrial Services Officer of travel; it is further

        ORDERED that defendant may possess a smartphone as long as it has software

downloaded on it to allow Pretrial Services to monitor his social media or internet use on the

device; and it is further

        ORDERED that defendant shall continue to comply with all other conditions of his pretrial

release as set forth in [13] the January 14, 2021 Order Setting Conditions of Release and [14] the

Court’s April 16, 2021 Order.

        SO ORDERED.


                                                                                       /s/
                                                                                JOHN D. BATES
                                                                           United States District Judge
Dated: May 12, 2021


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